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Civil Action No. 3:24-CV-0777-B

PROOF OF SERVICE 6A aD 3
(This section should not be filed with the court unless required by Fed. R. Civ. P.4(l))° ., -

This summons for (name of individual and title, if any) McCarthy Holthus LLP

was received by me on (date) 4-2-2024

© I personally served the summons on the individual at (place)

on (date) ; or

© | left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

§@ I served the summons on (name of individual) Andrew Boylan- Partner , who is

designated by law to accept service of process on behalf of (name of organization) McCarthy Holthus LLP
on (date) 4-5-2024 5 or

© J returned the summons unexecuted because > or

O Other (specify):

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date: 4-5-2024  —_

Server's signature

Maria De La Toba, San Diego County RPS#3609

Printed name and title

3111 Camino Del Rio N. Ste. 400A, San Diego, CA 92108

Server's address

Additional information regarding attempted service, etc:

